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     Counsel for CHRISTOPHER SANDERS, II
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8
                         IN THE UNITED STATES DISTRICT COURT
9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )      CRS 08-243 JAM
12                                   )
                    Plaintiff,       )      STIPULATION AND
13                                   )      ORDER CONTINUING STATUS
          v.                         )      CONFERENCE
14                                   )
     CHRISTOPHER SANDERS, II,        )
15                                   )
                    Defendant.       )
16   _______________________________ )
17
18                                REASONS FOR REQUEST
19             The parties are just finishing up a plea agreement.          The
20   defense desires additional time to review the proposed plea agreement,
21   make any necessary revisions to the plea agreement, obtain and review a
22   revised pre-plea report from Probation, and counsel for the defense
23   needs extra time to travel to Butte County Jail in Oroville to review
24   the same with Mr. Sanders.      The following stipulation is for the
25   purpose of allowing sufficient time for defense counsel to conduct a
26   conference with the client and explain to Mr. Sanders the documentation
27   described herein.
28   ////
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1                                       STIPULATION
2
3           It is hereby stipulated by and between the parties through their
4    respective counsel that the status conference in the above-entitled
5    case presently set for Tuesday, June 30, 2009 at 9:30 a.m. be continued
6    without appearance, for the reasons set forth above, two weeks to
7    Tuesday, July 14, 2009 at 9:30 a.m.            The parties further stipulate that
8    time included in this continuance be excluded pursuant to Speedy Trial
9    Act, from June 25, 2009, through July 14, 2009, for defense preparation
10   for reasons described in this stipulation, pursuant to 18 U.S.C.
11   Section 3161(h)(7)(B)(iv) and Local Code T4.
12
13          Dated: June 25, 2009
14
15                                 /s/ Mr. Samuel Wong, Esq. (by RMH)
                                   Assistant United States Attorney
16                                 Counsel the United States
17
                                   /s/ Mr. Robert M. Holley, Esq.
18                                 MR. ROBERT M. HOLLEY, Esq.
                                   Counsel for MR. SANDERS
19
20
                                        ORDER
21
22          GOOD CAUSE APPEARING and upon the stipulation of the parties,
23          IT IS HEREBY ORDERED that the status conference in the above-
24   entitled case, presently scheduled for Tuesday, June 30, 2009 at 9:30
25   a.m., be continued without appearance to Tuesday, July 14, 2009 at 9:30
26   a.m.
27          Based on the stipulation of the parties and good cause appearing
28   therefrom, the Court hereby finds that:           the failure to grant a


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1    continuance in this case would deny defense counsel reasonable time for
2    effective preparation taking into account the exercise of due
3    diligence.   The Court specifically finds that the ends of justice
4    served by the granting of such continuance outweigh the interests of
5    the public and the defendant in a speedy trial.        It is further ordered
6    that time from June 25, 2009, up to and including July 14, 2009, be
7    excluded from computation of time within which the trial of this matter
8    must be commenced pursuant to the Speedy Trial Act exclusion sections
9    set forth in the stipulation above.
10
11         Dated: June 26, 2009
12
13                                    /s/ John A. Mendez
                                      THE HONORABLE JOHN A. MENDEZ
14                                    United States District Court Judge
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